Case 5:22-cv-00988-JGB-KK Document 1 Filed 06/13/22 Page 1 of 12 Page ID #:1
Case 5:22-cv-00988-JGB-KK Document 1 Filed 06/13/22 Page 2 of 12 Page ID #:2
Case 5:22-cv-00988-JGB-KK Document 1 Filed 06/13/22 Page 3 of 12 Page ID #:3
Case 5:22-cv-00988-JGB-KK Document 1 Filed 06/13/22 Page 4 of 12 Page ID #:4
Case 5:22-cv-00988-JGB-KK Document 1 Filed 06/13/22 Page 5 of 12 Page ID #:5
Case 5:22-cv-00988-JGB-KK Document 1 Filed 06/13/22 Page 6 of 12 Page ID #:6
Case 5:22-cv-00988-JGB-KK Document 1 Filed 06/13/22 Page 7 of 12 Page ID #:7
Case 5:22-cv-00988-JGB-KK Document 1 Filed 06/13/22 Page 8 of 12 Page ID #:8
Case 5:22-cv-00988-JGB-KK Document 1 Filed 06/13/22 Page 9 of 12 Page ID #:9
Case 5:22-cv-00988-JGB-KK Document 1 Filed 06/13/22 Page 10 of 12 Page ID #:10
Case 5:22-cv-00988-JGB-KK Document 1 Filed 06/13/22 Page 11 of 12 Page ID #:11
Case 5:22-cv-00988-JGB-KK Document 1 Filed 06/13/22 Page 12 of 12 Page ID #:12
